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THE ASSISTANT SECRETARY OF DEFENSE

1200 DEFENSE PENTAGON
WASHINGTON, DC 20301-1200

April 03, 2012
HEALTH AFFAIRS

MEMORANDUM FOR ASSISTANT SECRETARY OF THE ARMY (MANPOWER

AND RESERVE AFFAIRS)

ASSISTANT SECRETARY OF THE NAVY (MANPOWER
AND RESERVE AFFAIRS)

ASSISTANT SECRETARY OF THE AIR FORCE (MANPOWER
AND RESERVE AFFAIRS)

DIRECTOR, JOINT STAFF

DEPUTY DIRECTOR, TRICARE MANAGEMENT ACTIVITY

COMMANDER, JOINT TASK FORCE NATIONAL CAPITAL

REGION MEDICAL

SUBJECT: Policy for Assisted Reproductive Services for the Benefit of Seriously or Severely
Ill/Injured (Category II or III) Active Duty Service Members

In 2010, the Assistant Secretary of Defense for Health Affairs (ASD(HA)) authorized in
vitro fertilization services for the benefit of severely or seriously ill/injured Active Duty Service
members. Implementation guidance for these services has been developed. Both the ASD(HA)
policy memorandum and implementation guidance are attached.

Thank you for your cooperation and continued support to improve the benefits of our
seriously ill/injured Service members and their families. If you have further questions, please

contact CAPT Tom Doss at Thomas.Doss@tma.osd.mil.

Ta VL

Jonathan Woodson, M.D.

Attachments:
As stated

ce:
Surgeon General of the Army
Surgeon General of the Navy
Surgeon General of the Air Force
Joint Staff Surgeon
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IMPLEMENTING GUIDANCE MEMORANDUM

Policy for Assisted Reproductive Services for the Benefit of Seriously or Severely IlI/Injured
(Category II or HI) Active Duty Service Members (ADSMs)

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I. CPT PROCEDURE CODES

There are multiple CPT procedures associated with assisted reproductive services. The most
current codes should be used for those services allowed to be cost-shared.

Il. DESCRIPTION

Assisted reproductive services, including sperm retrieval, oocyte retrieval, in-vitro fertilization,
artificial insemination, and blastocyst implantation, are available for seriously or severely ill or
injured female and male service members (Category Iland II). This is a benefit offered based
on the condition of the severely ill or injured service member not the spouse; therefore the use
of the Supplemental Health Care Program is authorized. Active Duty Members who desire to
participate in the assisted reproductive services program must verify their eligibility for this
benefit in accordance with paragraph IV below.

II. POLICY GUIDELINES

A. The policy applies to service members, regardless of gender, who have sustained
serious or severe illness/injury while on active duty that led to the loss of their
natural procreative ability. It is the intent of this policy to provide Invitro
Fertilization (IVF) services only to consenting male members whose injury or
illness prevents the successful delivery of their sperm to their spouse’s egg and to
consenting female members whose injury or illness prevents their egg from being
successfully fertilized by their spouse’s sperm but who maintain ovarian function
and have a patent uterine cavity. This includes, but is not limited to, those
suffering neurological, physiological and/or anatomical injuries.

B. The policy provides for the provision of assisted reproductive technologies to assist
in the reduction of the disabling effects of the member’s qualifying condition. The
authority for this policy for care outside of the basic medical benefit is derived from
Section 1633 of the 2008 National Defense Authorization Act. This Section
allows the Active Duty Service member to receive services similar to the Extended
Care Health Option (ECHO) benefits available to Active Duty Service Member
dependents. These services may be outside of the standard TRICARE Medical
Benefit. This “ECHO-like” benefit is provided through the authorization of the
expenditure of Supplemental Health Care Program funds and delivery of the
needed services in either military treatment facilities that offer assisted
reproductive technologies or in the purchased care sector that are outside the
medical benefit. Although purchased care is available for this benefit depending
on the Member’s circumstances not allowing him or her to travel, the use of
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Military Treatment Facilities should be encouraged, with Members eligible for this
benefit given priority for care at Military Treatment Facilities if there is a waiting
list. If the member receives care or medications in the civilian sector,
participating network providers must be used if available. Pre-authorization for
every cycle is required.

C. Benefit is limited to permitting a qualified member to procreate with his or her
lawful spouse, as defined in federal statue and regulation.

D. Benefit would apply equally to male and female seriously or severely injured
service members (Category II or IIT). Male members must be able to produce
sperm but need alternative sperm collection technologies as they can no longer
ejaculate in a way that allows for egg fertilization. Injured female members
require ovarian function and a patent uterine cavity that would allow them to
successfully carry a fetus even if unable to conceive naturally (e.g. through damage
to their fallopian tubes).

E. Third party donations and surrogacy are not covered benefits — the benefit is
designed to allow the member and spouse to become biological parents through
reproductive technologies where the Active Duty injury or illness has made it
impossible to conceive naturally.

F. Consent must be able to be given by the active duty member and his or her lawful
spouse. Third party consent is not authorized under this policy.

G. The DoD will cost-share the costs of cryopreservation and storage for up to three
years. At the end of three years or when the member separates/retires (whichever
comes first), couples are free to continue embryo storage at their own expense if
desired.

H. Issues regarding ownership, future embryo use, donation, and, or destruction etc.
will be governed by the applicable state law and will be the responsibility of the
service member and his/her lawful spouse and the facility storing the cryopreserved
embryos. DoD’s role is limited to paying for this benefit when requested by the
consenting member. DoD will not have ownership or custody of cryopreserved
embryos and will not be involved in the ultimate disposition of excess embryos.

IV. PROCEDURES

A. Prediction of fertility potential (Ovarian Reserve) will be conducted in accordance with
the provider clinic's practice guidelines. (May include a clomiphene citrate challenge test
(CCCT) and evaluation of the uterine cavity.) Beneficiaries with a likelihood of success, based
on the specific clinic’s guidelines, will be provided IVF cycles under this benefit. Infertility
testing and treatment, including correction of the physical cause of infertility are covered in
accordance with the TRICARE Policy Manual Chapter 4 Section 17.1.

B. Three completed IVF cycles will be provided for the seriously ill/injured female service
member or lawful spouse of the seriously ill/injured male service member. No more than six IVF
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cycles will be initiated for the seriously ill/injured female service member or legal spouse of the
seriously ill/injured male service member. In other words, there may be a total of six attempts to
accomplish three completed IVF cycles. Further, if the injured Service Member has used
initiated IVF cycles, subsequently remarries and desires this benefit with the new spouse, the
number of cycles available is dependent on prior cycles used.

C. Assisted reproductive service centers with capability to provide full services including
alternative methods of sperm aspiration will be invited to participate in the TRICARE network by
the managed care support contractors and designated providers. (Membership in the American
Society for Reproductive Medicine, with associated certification(s), is highly recommended for
nework providers. Reporting outcomes to the Centers for Disease Control and Prevention is
mandatory.) When a network provider in not available, the ECHO-like benefits provided under
this policy may be provided by any TRICARE-authorized provider, including those authorized
pursuant to 32 C.F.R. 199.6(e).

D. IVF cycles will be accomplished in accordance with the practice guideline for the
provider clinic using gonadotropins which are concentrated mixtures of follicle stimulating
hormone or follicle stimulating hormone and luteinizing hormone given as injection to stimulate
the ovary to produce multiple oocytes in preparation for egg retrieval. These medications will
only be purchased through the TRICARE Mail Order Pharmacy, a TRICARE Network
Pharmacy, or Military Treatment Facility, if available.

E. Anesthesia or conscious sedation will be provided for the oocyte retrieval and sperm
aspiration in accordance with the TRICARE Policy Manual Chapter 3 Sections 1.1 and 1.2. For
males, sperm aspiration through microsurgical epididymal sperm aspiration, percutaneous
epididymal sperm aspiration or non-surgical fine needle aspiration will be accomplished in
conjunction with egg retrieval. Vibratory stimulation or electro-ejaculation may be used if
appropriate for the ill/injured service member.

F. Intracytoplasmic sperm injection will be accomplished for all viable oocytes.

G. Embryo transfer in accordance with guidelines provided by the American Society for
Reproductive Medicine will be accomplished in accordance with specific clinic practices at either
cleavage stage or blastocyst stage of the embryo.

H. Healthy embryos that progress to an appropriate stage, as assessed by the
embryologist, in excess of those used for the fresh embryo transfer maybe cryopreserved.
Storage of cryopreserved embryos for up to three (3) years will be a covered benefit so long as the
member remains eligible for this benefit. Ownership of cryopreserved embryos will be the
responsibility of the service member and their spouse and documented in accordance with clinic
policies.

I. In the event that frozen embryos are available for transfer, TRICARE will authorize
frozen embryo transfer cycles to facilitate the utilization of these embryos. Frozen embryo
transfers may be accomplished in fresh ovulatory cycles or in medicated transfer cycles in order
to provide the optimal uterine environment for embryo implantation.
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IV. | PROCESS FOR PARTICIPATING IN ASSISTED REPRODUCTIVE SERVICES
PROGRAM:

A. For an ADSM to be eligible there must be documentation of Category II or III illness or
injury designation as defined in Department of Defense Instruction 1300.24.

B. A memo must come from the Member’s Primary Care Manager or other provider
significantly involved in the care of the qualifying condition(s). Certification of the illness or
injury category will be made by the provider and endorsed by the Member’s Service.

C. The memo must include the following:

Member’s qualifying diagnosis(es).

Category (II or IID).

Summary of relevant medical information supporting category designation.
Name of provider of reproductive services requested to be used.

Number of initiated IVF cycles.

Number of cancelled IVF cycles.

AAP YwN >

D. The memo is then sent to the Member’s Service for endorsement, and then sent
electronically to the Office of the Chief Medical Officer where verification of the member’s
eligibility for this ECHO-like benefit will be completed. Please send e-mails to:
TMASHCPWaiverRequests @tma.osd.nul.

E. OCMO will forward verified request to the appropriate Military Treatment Facility or
the Military Medical Support Office as well as the TRICARE Regional Office. The MCSCs will
process this authorization and claims according to SHCP guidelines. This authorization will
allow the use of the Supplemental Health Care Program to cost-share this service.

F. In order to verify eligibility, number of attempts (and completed attempts), and all other
requirements, all IVF cycles must be preauthorized.

V. EXCLUSIONS:
A. Third party donations or surrogacy cannot be cost-shared.

B. Cryopreservation of gametes in anticipation of deployment.
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OFFICE OF THE ASSISTANT SECRETARY OF DEFENSE
WASHINGTON, DC 20301-1200

HEALTH APPAIS APR 27 2010

MEMORANDUM FOR ASSISTANT SECRETARY OF THE ARMY (MANPOWER

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ASSISTANT SECRETARY OF THE NAVY (MANPOWER
AND RESERVE AFFAIRS)

ASSISTANT SECRETARY OF THE AIR FORCE
(MANPOWER AND RESERVE AFFAIRS)

DIRECTOR, JOINT STAFF

DIRECTOR, TRICARE MANAGEMENT ACTIVITY

SUBJECT: Policy for Provision of In Vitro Fertilization Services for the Benefit of
Seriously Injured Service Members

References: (a) Title 10, United States Code, Section 1074(c)
(b) Title 10, United States Code, Sections 1079(d), (e)
(c) National Defense Authorization Act for Fiscal Year 2008, Section 1633
(d) National Defense Authorization Act for Fiscal Year 2008, Section 1631

The Department is committed to ensuring the maximum support for our members
who have become seriously injured as a result of their service on Active Duty. Although
many medical and other benefits are available to these members and their families,
members with spinal and other injuries that make it impossible to conceive a child
naturally are not provided TRICARE coverage, which can assist them in becoming a
parent. Under references (a) and (c), Active Duty Service members receive a wide
variety of services that are not covered under the TRICARE basic program and include
benefits similar to those provided under reference (b) to Active Duty family members
who have a serious physical disability or an extraordinary physical or psychological
condition.

Reference (b) benefits, generally referred to as TRICARE extended care health
option benefits, include services to assist in the reduction of the disabling effects of a
qualifying condition. For those members who are medically retired from the Armed
Forces due to a serious illness or injury, reference (d) authorizes the Department to
provide the retired member the same medical care as an Active Duty Service member
when the care is not reasonably available to such retired members in the Department of
Veterans Affairs. Medical care for medically retired members under reference (d) is
scheduled to terminate December 31, 2012. The intent of this policy is to utilize the
above authorities to provide a quality of life benefit and to assist in reduction of the
disabling effects of his qualifying condition.

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The loss of procreative ability due to serious injuries received while on Active
Duty is considered a qualifying condition for the extended care benefits for Active Duty
Service members under references (a), (b) and (c). Similarly, a Service member who was
medically retired from the Armed Forces for a serious illness or injury incurred on Active
Duty and who, due to that illness or injury, has lost their procreative ability, will be
considered to have a qualifying condition for extended care benefits if the medically
retired member is otherwise eligible for medical care under reference (d). Covered
benefits for such a qualifying condition shall include the provision of assisted
reproductive technologies, specifically, in vitro fertilization services for the member’s
dependent spouse as services to assist in the reduction of the disabling effects of the
member’s qualifying condition. The Director, TRICARE Management Activity, shall
issue appropriate criteria, instructions, procedures, and guidelines as necessary to

implement this policy.
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Charles L. Rice, M.D.

President, Uniformed Services University of
the Health Sciences

Performing the Duties of the
Assistant Secretary of Defense
(Health Affairs)

